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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

STEVEN PEREZ,                          :      CIVIL ACTION NO.: 3:20-cv-01103
                                       :
             Plaintiff,                :
                                       :      (Chief Magistrate Judge Schwab)
               v.                      :
                                       :
OFFICER COLOMBO, et al.,               :
                                       :
             Defendants.               :



                                    ORDER
                                 October 19, 2020


      We are in receipt of Steven Perez’s (“Perez”) letter dated October 19, 2020,

in which Perez inquires as to why the defendants have not been served in this case.

Doc. 4. Perez filed his complaint on June 30, 2020, and paid the full filing fee.

Doc. 1. Pursuant to Fed. R. Civ. P. 4(c)(1), Perez “is responsible for having the

summons and complaint served within the time allowed by Rule 4(m).” Fed. R.

Civ. P. 4(m) requires service “within 90 days after the complaint is filed.” Perez

has not served the defendants pursuant to Rules 4(c)(1) and 4(m) and more than 90

days have elapsed since he filed his complaint. Thus, IT IS ORDERED that

Perez show cause as to why he has failed to serve the defendants in a timely

manner as required by Rule 4(m). Additionally, we note that Perez may avail
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himself of Fed. R. Civ. P. 4(c)(3) to request service by a United States marshal in

his response.

                                             S/Susan E. Schwab
                                             Susan E. Schwab
                                             United States Chief Magistrate Judge
